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                                EXHIBIT B

                              (HTA Fiscal Plan)
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A final fiscal plan is subject to the approval of the Board of Directors of the Puerto Rico Highway and Transportation Authority as per Law 74 June 23, 1965
as amended and the PRHTA Bylaws.
The Puerto Rico Fiscal Agency and Financial Advisory Authority (“AAFAF”), the Puerto Rico Highway and Transportation Authority (the “PRHTA”), the
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I. Executive Summary




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•   The Puerto Rico Highway and Transportation Authority (PRHTA) is a public corporation responsible for developing, operating and
    maintaining Puerto Rico’s toll road network, major highways and mass transportation facilities. The current Administration has
    developed an aggressive plan to obligate $135 million annually from Federal Highway Administration (FHWA) and $20 million from
    Federal Transit Administration (FTA) for projects meeting four key objectives including: (a) transit security and safety projects, (b)
    improvement of existing transportation infrastructure, (c) complete highway systems, and (d) congestion mitigation. Although this
    has not been the norm of the agency, PRHTA had difficulties in obligating and deploying federal funds during the last 3 years.

•   In order to maximize the infrastructure development in Puerto Rico, PRHTA is revamping its operations and streamlining its project
    delivery process. With this in mind, A Memorandum of Understanding was signed in February 2016 between Secretary of the
    Federal Department of Transportation and the Government of Puerto Rico geared at improving PRHTA’s operational effectiveness
    through several key initiatives, some of which are already in progress.

•   PRHTA’s current fiscal situation reflects a $4.49 financial gap for the next 10 year mostly impacted by the clawback provision which
    redirects 74%, or about $4.57 billion, of its operating revenues to the Central Government. Bondholders of the PRHTA are expected
    to cease receiving money for debt repayment by July 2017, when the reserve funds that have been used until now run out. In light of
    this financial reality and in accordance with the current Administration’s public policy, PRHTA will implement several measures
    geared at optimizing its operations with fiscal measures with an impact representing $616 million during the 10 year, or 14%, of the
    current financial gap.

•   A default of PRHTA with any of its obligations may trigger questions as to its financial capacity, a key requirement to receiving
    applicable grants from the FHWA and FTA. Furthermore, in the case of FTA, the reimbursement of previous funds may be requested
    if the use of an asset, previously federally funded, is discontinued. PROMESA establishes a process for the restructuring of debt
    (voluntary or involuntary) towards sustainable levels but not before the certification of its Fiscal Plan by the Oversight Board, among
    other requirements. The Government of Puerto Rico and its instrumentalities (including PRHTA) expect to continue this process in
    order to strengthen its financial capacity. PRHTA will also continue to work with all the federal agencies (including FTA & FHWA) as
    Partners throughout this process in order to achieve our common financial and operational objectives.




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II. DESCRIPTION OF PRHTA




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Puerto Rico Highway and Transportation Authority

                                    Mission                                                                                Vision
       Lead Puerto Rico towards economic development through an efficient                    Develop and promote an integrated transportation system that, along
      transportation system, safely and in accord with the environment, while                 with a highway infrastructure and service delivery, will facilitate the
                     procuring the delivery of excellent service                            economic development of Puerto Rico in harmony with the environment


                                                                           About PRHTA
  •       The Puerto Rico Highway and Transportation Authority is a public corporation founded with the purpose of continuing the government’s effort of
          providing the public with the best highways, easing the flow of vehicles and minimizing the risks and inconveniences that traffic congestions may cause.
  •       PRHTA is charged with constructing, operating, and maintaining Puerto Rico’s toll road network, major highways and mass transportation facilities, which
          are financed by revenue bonds, federal grants and specified tax revenues.
  •       The Puerto Rico State Highway System consists of a total of 4,814 miles:




         Primary Roads – 650 miles
         Secondary Roads – 1,000 miles
         Tertiary Roads – 3,164 miles




                                                                                                                  Source: http://www.dtop.gov.pr/historia.asp           7
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                             •   PRHTA falls under DTOP’s
                                 umbrella through the                                         The construction of Teodoro
                                 Reorganization Plan Num                                      Moscoso Bridge is completed,                Concession Agreement granted to Autopista
                                 6, conceding its powers                                      becoming the first highway                  Metropolitana de PR, LLC to operate and maintain
                                 and duties to the                                            privatization project in PR and             highways PR-5 and PR-22
                                 Secretary                                                    the US with an investment of                                    2011
•    Highway Authority was •     Integration of the mass                                      $126M
     amended (Act No. 112)       transportation sector
                                                                                                                                                                     •   Puerto Rico Oversight
•    The first project: Bridge   through the successful                                               1994                                                               Management and
     over Rio Grande de          establishment of              The Secretary of DTOP grants the                                                                          Economic Stability ACT
     Manatí is completed.        exclusive lanes project for   name Highway and Transportation                       PRHTA approved resolution 98-06                     (PROMESA) becomes
•    Establishment of New        AMA buses is put in place     Authority through Law 1, becoming                     which included a change in the                      effective
     Project’s Bid Board                                       the principal promotor and                                                                            •   Memorandum of
                                                                                                                     definition and name of “Traffic
•    The construction of the          1971                     administrator of mass transportation                                                                      Understanding (MOU) is
                                                                                                                     Facilities” to “Transportation
     first toll highway                                        public policies                                                                                           signed by the PR
     Autopista Las Americas,
                                                                             1991                                    Facilities.” Under this new definition,
                                                                                                                     Tren Urbano and other transit                       governor and US Dept. of
     PR-52                                                                                                                                                               Transportation
                                                                                                                     facilities are included
              1968
                                                                                                                         1998                                                      2016




    1965                                                                                                                                    2000                                2015
                                                                                                                                                                             Beginning of Puerto
Creation of the                                            1990                                                      Law 207 vests the Authority with                        Rico’s bond revenue
Puerto Rico                                                                                                          the power to directly invest in the                     clawbacks
Highway Authority                      Through Law 4, the Authority is                                               development of parcels around
                                       empowered to implement P3 contracts                                           train stations or any special district
                                       with private entities for the construction,
                                       operation and maintenance of highways,                                                                                        2014
                                       bridges, avenues and any other traffic
                                       installation                                                                                •   Toll Credits where implemented to benefit PRHTA by
                                                                                                                                       using the credits to substitute the required local share
                                                                                                                                       on future Federally aided projects
                                                                                                                                   •   Law 41-2014 amended the Organic Act of PRHTA to
                                                                                                                                       vest its powers in a Board of Directors



                                                                                               Source: http://www.dtop.gov.pr/carretera/det_content.asp?cn_id=217                                 8
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Current organization has a total head count of 1,485 as of February 2017

                                                                                       Oficina del
                                                                                       Secretario

                                                                                                                                  Oficinas de             Oficinas de            Oficinas de
                                                                                                                                  Servicios al            Seguridad             Autoexpreso
                                                                                                                                  Ciudadano                Interna
                                                                                       Oficina del
                                                                                        Director
                                                                                       Ejecutivo


                                                                                      Subdirector
  Oficinas de                         Oficinas de      Oficinas de    Oficinas de      Ejecutivo                  Oficinas de              Oficinas de
Administración     Oficinas de         Derechos         Asesoría       Auditoría                                 Coordinación                Enlace
de Propiedades   Comunicaciones         Civiles           Legal         Interna                                    Federal                  Federal




                                                                     Oficinas de                                                                                                   Directoría
 Oficinas de      Directoría de       Oficinas de     Oficinas de     Diseño de       Directoría de           Directoría de            Oficinas de          Directoría de          Alternativa
 Pruebas de      Infraestructura      Estimados y    Inventario de    Puentes y        Tránsito y             RH y Asuntos              Asuntos            Administración               de
 Materiales                            Subastas         Puentes      Estructuras       Autopistas              Laborales               Laborales             y Finanzas            Transporte
                                                                                                                                                                                    Integrado




   Área de                                            Área de                           Área de                                                                                   Áreas de
Programación      Área de            Área de        Adquisiciones     Área de        Ingeniería de            Área de              Área de                  Área de             Tecnologías
  y Estudios       Diseño          Construcción          de          Autopistas        Transito y            Recursos            Administración             Finanzas                 de
  Especiales                                        Propiedades                      Operaciones             Humanos                                                            Información




                                                                                                     Special relation between advisory offices that directly report to the Secretary and, at the
                                                                                                     same time, provide services and advice to the Executive Director
                                                                                                      Special relationship of counseling and coordination between offices or areas
                                                                                                      Special relation between administrative and finance phases




                                                                                    Source: PRTHA Management                                                                                       9
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PRHTA as a grantee of the Federal Government

PRHTA receives federal funds from two agencies, Federal Transit Administration (FTA) and Federal Highway Administration (FHWA). This
funding requires that the grantee demonstrates specific and well defined technical, financial and organizational capabilities. If the grantee
does not meet these capabilities, federal funds will not be allocated.
                                               FHWA                                                                            FTA
                  Federal Agency within the U.S Department of Transportation responsible for             Provides financial and technical assistance to local public
                  administering the federal-aid highway program and highway transportation               transit systems, including buses, subways, light rail, commuter
 Description      programs of the Department of Transportation.                                          rail, trolleys and ferries. The FTA also oversees safety measures
                                                                                                         and helps develop next-generation technology research.

                  According to 23 U.S.C. § 302 and Title 23 of the Code of Federal Regulations, any      To become a grantee of FTA Funding, PRHTA is required to meet
                  state needs to be suitably equipped and organized to discharge to the                  the following minimum criteria:
                  satisfaction of the Secretary the duties required by this title. In the following      • Legal Capacity
                  areas:                                                                                 • Technical Capacity
                  • Payment procedures- Chapter 1, subchapter 8                                          • Proven Financial Capacity
 Compliance       • Planning/Environmental- Section 135, Chapter I, Subchapter E
Requirements      • Design- Highway Standard/ Design Criteria- Section 109, Chapter I,                   • Disadvantage Business Enterprise
                      Subchapter G                                                                       • American with Disabilities Act Compliance
                  • Construction and Contracting Procedures- Chapter I, Subchapter G                     • Title IV (Civil Rights) 48 U.S.C §5301 et seq.
                  • Transportation Infrastructure Management- Chapter I, Subchapter F
                  • Maintenance- Properly Maintenance all Roads- Section 116
                  • Highway Safety- Section 402, Chapter I, Subchapter II
                  • Right of Way and Environment- Chapter I, Subchapter H
                  Non compliance with federal laws and regulations or diversion of highway               The default of PRHTA with any of its obligations (mainly bond
                  revenues may result in:                                                                debt) may trigger questions as to its financial capacity leading to
                  • Suspension of Funding                                                                a potential loss of federal funds.
 Risks of non-    • Lack of Maintenance and essential services that will cause highways to               If, during the useful life of the property, the recipient
 compliance          deteriorate                                                                         unreasonably delayed or failed to use the federally assisted
                  • Transportation of goods and emergency services will be hindered                      property for its originally intended purpose, recipients may be
                                                                                                         required to return the entire amount of federal assistance
                                                                                                         spent on the Award or federally assisted property.
Max Available                          $150 million/year*                                                                       $20 million/year*
  Funding



                                                                                           Source: USC 23; Title 23 CFR; PRHTA Management Assessment
                                                                                           * May not equal that of obligated funds and/or actual expenditures            10
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III. INFRASTRUCTURE AGENDA




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Infrastructure Agenda

PRHTA has established an aggressive infrastructure agenda to maximize federal funds obligated from FHWA 1 and FTA1, as can be seen in the
Capital Improvement Plan (CIP), which includes active and programmed projects. This infrastructure plan follows a structured approach aimed
at maximizing the impact of available resources to support economic growth.
Strategy:                             Focus:                                   Funds:                                      Projects:

•   Continue aggressive plan to       Planned projects for the next four       • Obligate as much Federal Funds            •   The FY 2017 CIP emphasizes highway
    maximize funds and develop        years will mainly focus on:                as possible to support economic               reconstruction projects with a Data Driven
    best in class infrastructure                                                 growth                                        Approach focusing on high crash locations and
                                        •      Highway Safety Projects                                                         critical condition roadways with emphasis in
•   Utilize P3’s and outsourcing as                                            • Current Federal match                         segments in the National Highway System,
    strategies to achieve a more        •      Improvement of existing           percentage is 80% of project
    efficient and modern                       transportation                    costs for eligible projects, with
    infrastructure, in accordance              infrastructure                    state match being set at 20%
    with Puerto Rico’s government
    public policies                     •      Complete Highway Systems        • Currently, PRHTA uses toll credits               Total allocated funds
                                                                                 for its state match percentage.                  $ millions
•   Expedite project delivery           •      Congestion Mitigation
    through:                                                                   • Future initiatives to increase                                                                 $404
     • Engage expedited design                                                   federal funding include:
                                                                                                                                                                  $340
       services to accelerate                                                    • Congress approval to begin
       preliminary designs and                                                     contributing to Highway Trust                                    $274
       obligate funds                                                              Fund
     • Increase Project supervision                                              • Decrease current penalties                         $135
       through additional qualified
       resources

•   Pursue Puerto Rico’s new
                                                                                                                                    FY 2017       FY 2018       FY 2019       FY 2020
    infrastructure reform, when
    applicable




                                                             1 Total available FTA & FWHA funding may not equal that of obligated funds and/or actual expenditures

                                                             Source: CIP 2017-2020; PRHTA Management Assessment
                                                                                                                                                                                            12
                                                                                                Pre-Decisional | Privileged & Confidential Draft | Analysis Subject to Material Change
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Infrastructure Agenda: Fund Allocation Profile     Exhibit B Page 14 of 58



PRHTA is currently working on an aggressive capital improvement plan which includes active and planned projects with a total investment
amount of $1.1 billion in a 4 year period.


 Allocated FHWA Funds
 $ millions
                                                                                                                                  Construction            Design           ROW

ACTIVE Projects
                                                                                                                                                 $269
                                                        $206                                    $205
                         $67                     $152                                    $144                                                    $220
                                $46   $1                                                               $51
                   $20                            $8           $46                        $9                                              $16           $34


PLANNED Projects
                                                                                                $135                                             $135
                         $68                            $68
                                                                                                $105                                             $105
                                $53   $1                       $53    $1
                   $14                            $14                                    $3            $27                                 $3           $27




TOTAL Projects

                                                                                                                                                 $404
                                                                                                $340
                                                        $274
                         $135


                        FY 2017                     FY 2018                                   FY 2019                                           FY 2020



                                                                Source: CIP April 2017                                                                                            13
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Infrastructure Agenda: Strategic Projects    Exhibit B Page 15 of 58




                                                                                                          Strategic Projects
   General Strategy on Key Projects                                          Key Projects                       Project Cost                 Project Revenues
                                                                                                                  $ millions                     $ millions
                                                                            • Extension of PR-22 from
                                                                              Hatillo to Aguadilla                      $500                            $15/year
                                                                              (Northwest Corridor)1


                                                                            • PR-5 Extension Toa
                                                                              Alta- Bayamón                             $170                            $8/year
    Strategic Projects to be incorporated in future FY STIP
    emphasize new toll roads, dynamic toll lanes/flyovers
    and reconstruction and maintenance of existing toll
    roads which will include new revenues to enhance                        • Reversible Overpasses               $250 - based on
    private sector participation through P3, APP-P or                         with Dynamic Tolling -              10 intersections at                   $15/year
    Outsourcing                                                               Efficient Peak Period               $25 per
                                                                              Congestion Relief in                intersection
                                                                              Critical Intersections


                                                                            • Reconstruction and
                                                                              Maintenance of
                                                                                                                • $300-
                                                                              Primary Highway                                                      $4/year with
                                                                                                                  Reconstruction
                                                                              Network (PR-52,                                                      3% annual
                                                                                                                • $10/year -
                                                                              PR-2, PR-20, PR-53,                                                  growth
                                                                                                                  Maintenance
                                                                              PR-66) based on
                                                                              PPPP


                                                 1 Numbers revised as per Northwestern Corridor: Desirability and Convenience Final Report, April 2016, where

                                                 study suggests construction of Hatillo to Quebradilla and Aguadilla By Pass, both with toll revenues
                                                 Source: STIP 2017-2020; PRHTA Management Assessment                                                               14
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IV. CURRENT SITUATION WITH BASELINE FINANCIAL
PROJECTION



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PRHTA’s current fiscal situation with clawback provision impact
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 Current fiscal situation continues to be dire for PRHTA and was recently aggravated by the need of the Government
 of Puerto Rico to clawback revenues1 pledged to the Authority. These revenues are now used within the Government
 of Puerto Rico. Government of Puerto Rico has collected $310 million as of June 30, 2016 under this clawback
 provision.

                                                                                          June 30
  Statement of                              2016                      2015                   2014                            2013                       2012
  Revenues and Expenses                   UNAUDITED              UNAUDITED                     AUDITED                    AUDITED                     AUDITED

  Total operating revenues            $          210.8 $                   268.9 $                     213.7 $                    184.9 $                     201.6
  Total operating expenses                      (186.3)                   (227.5)                     (391.5)                    (314.4)                     (275.1)
  Depreciation and amortization                 (451.8)                   (448.7)                     (448.0)                    (432.0)                     (438.2)
  Operating loss                                (427.3)                   (407.3)                     (625.8)                    (561.5)                     (511.8)

  Non-operating revenues                         478.2                     518.2                       531.9                      292.6                       292.6
  Non-operating expenses                        (329.0)                   (419.4)                     (324.7)                    (294.3)                     (528.3)
  Loss before capital contribution              (278.0)                   (308.6)                     (418.6)                    (563.2)                     (747.5)

  Transfers and Capital
                                                   58.4                     358.7                      228.4                      428.9                       306.5
  contributions
  Change in net position                        (219.6)                       50.1                    (190.2)                    (134.3)                     (441.0)

  Net position at beginning of year            3,027.6                  2,977.5                     3,167.7                    3,302.0                    3,742.9
  Net position at end of year         $        2,807.9         $        3,027.6           $         2,977.5           $        3,167.7           $        3,302.0
                                               1 As stated in the Puerto Rico Constitution, Article VI, Section 2 “The Secretary of the Treasury may be required to apply the
                                               available revenues including surplus to the payment of interest on the public debt and the amortization thereof in any case
                                               provided for by Section 8 of this Article VI at the suit of any holder of bonds or notes issued in evidence thereof.”
                                               Source: 2016 PRHTA Unaudited Financial Statements
                                                                                                                                                                            16
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PRHTA’s current operational situation and MOU Objectives
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  Following years of operational and organizational challenges to effectively and efficiently deploy federal funds in
  compliance for with Federal requirements, PRTHA and FHWA signed a Memorandum of Understanding1 on
  February 29th 2016 geared at revamping PRTHA’s Project and Program Delivery capabilities.


   PRHTA Challenges                                                        MOU between PRHTA and FHWA
   More than $400 million in available funding is                          Establishes procedures, systems and project
    not deployed due to delayed processes for                                delivery objectives for the Puerto Rico Highway
    project advancement, project completion and                              Program
    provider payments
                                                                            Identifies roles , responsibilities and actions for
   Outdated and non-standard documentation and                              the PRHTA and the FHWA to accelerate the
    requirements                                                             funding, planning, design and construction of
                                                                             various highway, bridge and transportation
   Lack of communication and feedback                                       improvement projects
    integration between planning and construction
    departments                                                             Improves the economic vitality of the
                                                                             Government of Puerto Rico and serves as a
   Increased project costs and overruns from                                catalyst for sustainable job growth associated
    original budgets                                                         with highway construction in Puerto Rico
   Misalignment of current capabilities with
    needed core competencies



                                                1 MOU signed by the government of Puerto Rico and Federal Highway Administration

                                                Source: Signed Memorandum of Understanding MOU-PR2016-02-29-094734                 17
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MOU requirements and currents status of initiatives Exhibit B Page 19 of 58




Initiative          Description                                                                                                                          Status
                    •   Revise and submit to FHWA its billing process to ensure prompt payment to contractors as
                                                                                                                                  E-Business Suite contract is being
                        follow:
 Federal Aid                                                                                                                      undertaken using sole sourcing
                              ⁻ Paying all contractors by EFT
 Billing                                                                                                                          strategy and professional services
                              ⁻ Paying all contractors within 40 days of receipt of invoices
 Procedures                                                                                                                       hiring to expedite its
                              ⁻ Tracking status of payments using electronic method acceptable to FHWA
                                                                                                                                  implementation.
                              ⁻ Paying all contractors on the first business day after funds are received from FHWA

                    •   Validate that PRHTA’s existing toll credit balance complies with current FHWA guidance (the               Since inception only $91M in toll
                        current guidance at the time of execution of this Agreement is “Interim Guidance- Toll Credit             credits have been claimed, there
                        for non-federal Share, Nov 20, 2015)                                                                      is an outstanding balance of
 Toll Credits
                    •   Identify that amount of toll credits available for use by PRHTA, and                                      $665M waiting validation for
                    •   Identify modifications that PRHTA must make to its processes for approving, tracking and                  future federally aided projects.
                        reconciling toll credit usage

                                                                                                                                  Notice to Proceed provided on
                    •   Engage a management consultant to assist the PRHTA to review and develop plans, guidelines,
                                                                                                                                  3/31
 Organizational         SOP’s and recommendations for PRHTA’s project billing, project delivery process, contracts,
                                                                                                                                  Consultant has begun with
 Capacity               training, planning programs and quality assurance process
                                                                                                                                  preliminary interviews and data
 Development                                                                                                                      gathering



                    •   Procure services to improve systems such as email communication, electronic project                       The email migration started on 12-
                        monitoring system, improvements to financial billing system in order to reduce the PRHTA’s                12-16 and was completed in
                        obligated but unexpected balances.                                                                        February 2017
 Expediting         •   Submit to the FHWA a report identifying the reasons for the delay of every project that the
 Project Delivery       PRHTA has obligated, but for which less than 5% of funds have been expended since the date a              The PMIS was signed and approved
                        recorded obligation existed                                                                               while E-Bid System is waiting for
                    •   Develop and Submit to the FHWA a schedule with milestones to accelerate obligation of its                 approval based on new
                        annual Federal-aid allocation to ensure all funds are properly obligated before redistribution of         requirements of PR Law 03-2017
                        Federal-aid obligation limitation




                        Source: Signed Memorandum of Understanding MOU-PR2016-02-29-094734                                  Not Started     In Process      Completed   18
                           Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19                                           Desc:
MOU initiatives encompass all elements     needed
                                 Exhibit B Page 20 of 58to create an effective

organization
                                                                                               Organizational Capacity Development
                    Federal Aid Billing Procedures                    Toll Credits                                                              Expediting Project Delivery
                                                                                                              (LEAN)

                 • Develop an efficient billing           • Identify improvements for          • Implement a LEAN Project delivery          • Establish processes to provide
                   process with specific goals to           the approval, tracking and           and billing process that will result in      continuous visibility to under
                   ensure on-time payment to                reconciling of toll credit usage     higher quality projects, faster project      performance projects and allow
  Processes        contractors                                                                   completion and more efficient                for effective development of
                 • Ensure best practices and                                                     delivery                                     action plans
                   guarantee financial accuracy and
                   consistency

                                                                                               • Develop capacity analysis to
                                                                                                 correctly size the needed
Organization                                                                                     organization to support the process



                 • Establish measurable goals tied        • Establish critical KPI’s that      • Establish measurable performance           • Implementation of systems for
                   to the development of the                are essential for auditing           levels and KPI’s to improve process          email and electronic
                   agency’s goals and objectives            and validating compliance            visibility and track whether projects        monitoring to increase visibility
                 • Tracking the status of payments          with FHWA guidance                   are achieving targets                        and communication between
Infrastructure     with electronic methods                                                     • Develop an effective method for              areas
                                                                                                 capturing voice of the client to
                                                                                                 support performance measurement
                                                                                                 and strategic decision making


                                                          • Train personnel on toll            • Promote collaborative culture
                                                            audit process to ensure              and communication
   Culture                                                  compliance                         • Establish agenda for workshops
                                                                                                 and trainings to develop core
                                                                                                 competencies and deliver
                                                                                                 business value




                         Source: Signed Memorandum of Understanding MOU-PR2016-02-29-094734                                                                                   19
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                                             Exhibit B Page 21 of 58
Financial Sustainability, Federal Agencies & PROMESA

  Bondholders of the PRHTA would cease to receive money for debt repayment by July 2017, when the reserve funds
  that have been used until now run out. Although PRHTA stopped remitting payments to the trust, the trustee has
  been using a reserve fund to comply with bondholder payments.



     PRHTA receives about $155 millions per year from FTA and FHWA. This funding requires that the grantee
      demonstrates specific and well defined technical, financial and organizational capabilities. If the grantee does not
      meet these capabilities, there is a substantial risk that federal funds will not be allocated. A default of PRHTA
      with any of its obligations may trigger questions as to its financial capacity. Furthermore, in the case of FTA, the
      reimbursement of previous funds may be requested if the transportation use is discontinued.


     The Puerto Rico Oversight, Management, and Economic Stability Act (PROMESA) establishes a process for the
      restructuring of debt (voluntary or involuntary) towards sustainable levels but not before the certification of its
      Fiscal Plan by the Oversight Board, among other requirements. The Government of Puerto Rico and its
      instrumentalities (including PRHTA) expect to continue this process in order to strengthen its financial capacity.
      We will continue to work with all the federal agencies (including FTA & FHWA) as Partners throughout this
      process in order to achieve our common objectives.




                                                           Source: Puerto Rico Oversight, Management and Economic Stability Act (PROMESA)   20
                         Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19                                             Desc:
                                                  Exhibit B Page 22 of 58
Overview of PRHTA’s Projected Financial Gap over 10 years
Financial Gap Pre-Measures after Clawback & Debt Service
$ millions
                                       74% *                                                                                                                        Revenues
                                                                                     Clawback Includes:
                                                                                                                                                                    Expenses
                    $2,162     $8,444                                                •   Gasoline Tax
                                                                                                                                                                    Gap
                                                                                     •   Diesel Tax
                                                                                                                                                                    Clawback
       $6,282                                                                        •   Petroleum products tax
                                                                                     •   Vehicle license fees                                                       Debt Service
                                                                                     •   Cigarette tax
                                                       $3,469
                                           $4,975
                                                                                                         Bonds             Bonds             GDB       Total Fin.
                                                                                         $1,193         Principal        Interests         Interests     Gap

                  FHWA and     Total  Construction    Gap
                                                                        $4,572                           $1,392
      Operating      FTA     Revenues & Operating   before                              Transfer
      Revenues     Funding             Expenses    Clawback           Clawback            from
                                                                       To Cent          Gov’t. of                         $2,088           $1,100
                                                                        Gov.               PR                                                           -$4,490

  Revenues
  •   Toll revenues                         Expenses
  •   Gas/Diesel/Petroleum Products tax     • Construction costs associated with
  •   Cigarettes taxes                         project deployment as per STIP                                         Total Debt
  •   Motor Vehicle License Fees            • Toll highways administration and                                         Service
  •   Transit Revenues and Toll Fines          maintenance
  •   FHWA Funding                          • Train operation and maintenance
  •   FTA Funding                           • Integrated transportation system
                                               operation and maintenance
                                            • General administration



                                                           * Clawback Revenues amount to 74% of Operating Revenues
                                                           Source: Jorge F. Freyre, PHD Projections analysis, PRHTA Management Estimates                                       21
                                  Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19                                                                                                            Desc:
PRHTA Baseline projections results in a $4.5 billion financial gap after debt
                                                           Exhibit B Page 23 of 58

service for the next 10 years*
                                                                                                                                                                                                                            Total
                                                                    2016-17 P         2017-18 P      2018-19 P     2019-20 P     2020-21 P    2021-22 P    2022-23 P    2023-24 P    2024-25 P    2025-26 P          5 Yr            10 Yr
        Revenues
                      (1)(2)
         Toll fares                                                 $ 136,195 $           137,363 $    138,547 $     139,747 $ 139,188 $ 139,606 $ 141,002 $ 143,258 $ 146,266 $ 150,069                       $     691,041 $ 1,411,242
         Gasoline Tax**(1)                                              151,242           146,447      144,677       145,931       147,906      143,357      138,760      133,958      129,315      125,623          736,204        1,407,217
                           (1)
         Diesel Tax**                                                    12,500            12,500       12,500        12,500        12,500       12,116       11,727       11,321       10,929       10,617           62,500          119,209
                                         (1)
         Petroleum Products Tax**                                       254,567           185,000      185,000       185,000       185,000      185,000      185,000      185,000      185,000      185,000          994,567        1,919,567
                                   (1)
         Cigarettes taxes**                                              20,000            20,000       20,000        20,000        20,000       20,000       20,000       20,000       20,000       20,000          100,000          200,000
         Motor Vehicle License Fees** (1)(3)                             32,651            32,651       32,651        32,651        32,651       32,651       32,651       32,651       32,651       32,651          163,253          326,507
                                                           (1)(3)
         Act 30 - Licenses Fees Transferred to Act**                     60,000            60,000       60,000        60,000        60,000       60,000       60,000       60,000       60,000       60,000          300,000          600,000
                                 (4)
         Transit Revenues                                                10,200            10,200       10,404        10,612        10,612       10,612       10,612       10,612       10,612       10,612           52,028          105,088
         Electronic Toll Fines (4)                                       10,600            10,600       10,600        10,600        10,558       10,589       10,695       10,866       11,094       11,383           52,958          107,586
         Other income (4)                                               8,400               8,400        8,400         8,400     8,366     8,391     8,475     8,611     8,792     9,020                            41,966      85,257
          Total Revenues                                            $ 696,355 $           623,161 $    622,778 $     625,441 $ 626,781 $ 622,322 $ 618,923 $ 616,277 $ 614,659 $ 614,975                       $ 3,194,516 $ 6,281,671
          Active Obligated Funds                                       67,118             206,199      204,814       268,816       -         -         -         -         -         -                             746,947     746,947
          STIP Obligated funds                                         67,500              67,500      135,000       135,000   135,000   135,000   135,000   135,000   135,000   135,000                           540,000   1,215,000
         Federeal Aid - FHWA & Earmarked Projects                     134,618             273,699      339,814       403,816   135,000   135,000   135,000   135,000   135,000   135,000                         1,286,947   1,961,947
         Federal Aid-FTA (Sec. 5307 & Sec. 5309)                       20,000              20,000       20,000        20,000    20,000    20,000    20,000    20,000    20,000    20,000                           100,000     200,000
          Capital Contributions                                     $ 154,618 $           293,699 $    359,814 $     423,816 $ 155,000 $ 155,000 $ 155,000 $ 155,000 $ 155,000 $ 155,000                       $ 1,386,947 $ 2,161,947
            Total Revenues After Federal Fund Transfers             $ 850,972 $           916,860 $    982,592 $ 1,049,257 $ 781,781 $ 777,322 $ 773,923 $ 771,277 $ 769,659 $ 769,975                         $ 4,581,463 $ 8,443,618
        Expenses
          Right of Way                                              $ (31,000) $          (31,000) $    (31,000) $    (31,000) $ (31,000) $ (31,000) $ (31,000) $ (31,000) $ (31,000) $ (31,000)               $    (155,000) $      (310,000)
          Design                                                      (23,000)            (23,000)      (10,000)      (10,000)   (10,000)   (10,000)   (10,000)   (10,000)   (10,000)   (10,000)                     (76,000)        (126,000)
          Contruction Local                                           (10,000)            (10,000)      (10,000)      (10,000)   (10,000)   (10,000)   (10,000)   (10,000)   (10,000)   (10,000)                     (50,000)        (100,000)
                                                                                                                                                                                                                                          -
           Active Obligated Funds                                        (67,118)        (206,199)     (204,814)     (268,816)         -            -            -            -            -            -            (746,947)        (746,947)
           STIP Obligated funds                                          (67,500)         (67,500)     (135,000)     (135,000)    (135,000)    (135,000)    (135,000)    (135,000)    (135,000)    (135,000)         (540,000)      (1,215,000)
          Construction Federal (FHWA & EARMARKED)                       (134,618)        (273,699)     (339,814)     (403,816)    (135,000)    (135,000)    (135,000)    (135,000)    (135,000)    (135,000)       (1,286,947)      (1,961,947)
                                                                                                                                                                                                                                           -
          Salaries and related benefits                                  (47,837)         (48,425)      (49,393)      (50,381)     (50,381)     (50,381)     (50,381)     (50,381)     (50,381)     (50,381)        (246,417)        (498,322)
          Litigation Reserve                                              (8,160)          (8,160)       (5,863)       (3,520)      (3,520)      (3,520)      (3,520)      (3,520)      (3,520)      (3,520)         (29,223)         (46,823)
          Right of Way Payments                                          (16,960)         (16,960)      (15,299)      (13,605)     (13,605)     (13,605)     (13,605)     (13,605)     (13,605)     (13,605)         (76,429)        (144,454)
          Other program expenses                                          (3,596)          (3,596)       (3,667)       (3,741)      (3,741)      (3,741)      (3,741)      (3,741)      (3,741)      (3,741)         (18,341)         (37,046)
            Total Construction (6)                                  $ (275,171) $        (414,840) $ (465,036) $ (526,063) $ (257,247) $ (257,247) $ (257,247) $ (257,247) $ (257,247) $ (257,247)             $ (1,938,357) $ (3,224,592)
          Salaries and related benefits                                (44,740)           (43,958)    (43,714)    (44,589)    (44,636)    (44,613)    (44,733)    (44,847)    (44,902)    (44,890)                 (221,637)     (445,622)
          Toll highways administration and maintenance                 (33,358)           (33,358)    (34,025)    (34,706)    (34,706)    (34,706)    (34,706)    (34,706)    (34,706)    (34,706)                 (170,153)     (343,683)
          Train operating and maintenance costs                        (65,360)           (66,478)    (68,090)    (69,733)    (69,733)    (69,733)    (69,733)    (69,733)    (69,733)    (69,733)                 (339,394)     (688,059)
          Integrated transportation system                             (14,076)           (14,075)    (14,075)    (14,075)    (14,075)    (14,075)    (14,075)    (14,075)    (14,075)    (14,075)                  (70,376)     (140,751)
          Other operating expenses                                     (12,817)           (12,817)    (13,074)    (13,335)    (13,335)    (13,335)    (13,335)    (13,335)    (13,335)    (13,335)                  (65,378)     (132,053)
                                               (5)
            Total operating expenses                                $ (170,351) $        (170,686) $ (172,978) $ (176,438) $ (176,485) $ (176,462) $ (176,582) $ (176,696) $ (176,751) $ (176,739)             $   (866,938) $
                                                                                                                                                                                                                             $ (1,750,168)
                                                                                                                                                                                                                                      -
             Total expenses                                         $ (445,522) $        (585,526) $ (638,014) $ (702,501) $ (433,732) $ (433,709) $ (433,829) $ (433,943) $ (433,998) $ (433,986)             $ (2,805,295) $ (4,974,760)
        Total Fin. Gap Pre-Measures before Clawback & Gov. Funding $ 405,450 $            331,334 $    344,578 $     346,756 $ 348,049 $ 343,613 $ 340,094 $ 337,334 $ 335,661 $ 335,989                       $ 1,776,168 $ 3,468,858
                                                     (7)
        Clawback to Central Government                              $ (530,959) $        (456,598) $ (454,828) $ (456,082) $ (458,057) $ (453,123) $ (448,138) $ (442,930) $ (437,894) $ (433,890)             $ (2,356,524) $ (4,572,499)
        Transfer from Government of PR (9)                             119,340            119,340     119,340     119,340     119,340     119,340     119,340     119,340     119,340     119,340                   596,700     1,193,400
        Total Fin. Gap Pre-Measures after Clawback & Gov. Funding   $     (6,169) $        (5,924) $      9,091 $     10,014 $       9,332 $      9,830 $     11,295 $     13,744 $     17,107 $     21,439    $      16,344 $         89,759
        Debt Service (8)
         Principal                                                  $ (113,355) $        (116,723) $   (120,488) $   (124,510) $ (129,652) $ (162,568) $ (153,750) $ (149,800) $ (156,754) $ (164,034)         $   (604,728) $ (1,391,634)
         Interest                                                     (234,088)          (229,507)     (224,560)     (219,408)   (213,891)   (207,510)   (201,300)   (193,636)   (185,774)   (178,397)           (1,121,454)   (2,088,070)
           Total debt due to Bonds                                  $ (347,443) $        (346,230) $   (345,048) $   (343,919) $ (343,543) $ (370,078) $ (355,050) $ (343,436) $ (342,528) $ (342,431)         $ (1,726,182) $ (3,479,704)
         Interest on GDB Line of Credit                             $ (110,000) $        (110,000) $   (110,000) $   (110,000) $ (110,000) $ (110,000) $ (110,000) $ (110,000) $ (110,000) $ (110,000)         $ (550,000) $ (1,100,000)
            Total debt                                              $ (457,443) $        (456,230) $   (455,048) $   (453,919) $ (453,543) $ (480,078) $ (465,050) $ (453,436) $ (452,528) $ (452,431)         $ (2,276,182) $ (4,579,704)

        Total Fin. Gap Pre-Measures after Debt Service & Clawback   $ (463,612) $        (462,154) $ (445,957) $ (443,904) $ (444,210) $ (470,248) $ (453,754) $ (439,692) $ (435,421) $ (430,992)             $ (2,259,838) $ (4,489,946)


                                                                                         * Additional notes and assumptions on page 51
                                                                                         **Revenue streams included on Government Clawback
                                                                                         *** Only interest payments are considered in the projections
                                                                                         Source: Operational revenue information based on Jorge F. Freyre, PHD analysis on long term revenue projection. Federal funding,
                                                                                         expenses and debt servicing information where provided by PRHTA.                                                                22
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V. FISCAL MEASURES WITH FINANCIAL PROJECTIONS




                                                                                        23
               Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19 Desc:
Our goal is to transform     PRTHA’s towards         a best-in-class
                                        Exhibit B Page  25 of 58          infrastructure developer
and operator
  As previously mentioned, PRHTA is responsible of constructing, operating, and maintaining Puerto Rico’s toll road network, major
  highways and mass transportation facilities. To properly meet its duty, the measures in this plan follow two main philosophies:

 An effective organization focused in gaining synergies and                             A streamlined project delivery process by engaging the best
 carrying out the specific goals of PRHTA                                               resources available
• Organize PRHTA into a world class infrastructure developer and                        • Establish best-in-class Project Delivery Process to assure federal
  operator moving it towards a contract management model,                                  compliance and efficiently deployment of resources available to
  such as it is currently done today for design, land acquisition,                         maximize the infrastructure developed and maintained.
  construction and mass transit operations. Expect PRHTA to
  manage third party contracts engaged through competitive
  bidding for each service required.
 PRHTA envisioned structure                                                             Project Delivery Phases
                                                      *For illustration purposes only




                                                                                        • The streamlined process will be complemented by having the
                                                                                          adequately sized resources, visibility of important metrics to
                                                                                          allow for accurate and timely decision making, as well as the
                                                                                          correct people with the right motivators and capabilities.
• Competitiveness will be maintained by constantly evaluating                           • Project delivery methods will include Value Engineering analysis
  current contracts and its performance and re-bidding to assure                          and innovative contract approaches1 early in the planning phase
  accurate market value of service provided.                                              to maximize the value of each project
                                                                                        • Skilled teams in the management of design and construction
                                                                                          activities will assure to meet objectives of reducing average
                                                                                          change orders from 30% to 15%2
                                                     1 Case study of PR-18 & PR-66 procurement approach to be used as guideline for applicable projects. See Appendix: Additional

                                                     Information
                                                     2 Federal funded projects budget allows for a maximum of 15% increase to projects                                              24
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Organizational Transformation Fiscal Measure (1/2)   Exhibit B Page 26 of 58



1   Transform organization from an in-house                                             Results
                                                                                        $ millions, Full year impact
    infrastructure developer to contract management
                                                                                                                                                                   57.3      62.3       67.4
     Organize PRHTA into a world class infrastructure developer and                                                                          48.2      52.2
                                                                                                                         32.8      40.6
      manager moving towards a contract management business model,                                            22.7
                                                                                                    13.3
      such as done today for different functions.                                         0.0

                                                                                        2017p 2018p 2019p 2020p 2021p 2022p 2023p 2024p 2025p 2026p

    1a   Organization Transformation                                                                                                                                         59.5       66.5
                                                                                                                                              42.2      46.8       53.4
          Transform organization from an in-house infrastructure                                                        27.9      35.6
                                                                                                    11.6      19.9
           developer to contract management leveraging the Labor                          0.0
           Transformation and Flexibility Act of 20171 and through a
           normal attrition rate




    1b   Pre-Retirement Program Act
          Application of Voluntary Pre-Retirement Program Act2                                                                                          6.3        7.2       8.4        9.1
                                                                                          0.0        1.5       2.1        3.9       4.4        5.1
          187 candidates opted for the plan on the first year adding to
           $58.1M in savings the 10 year period
                                                                                        2017p 2018p 2019p 2020p 2021p 2022p 2023p 2024p 2025p 2026p




                                                                   1 Assumes Labor Transformation and Flexibility Act of 2017 applies to PRHTA and resources can be relocated appropriately
                                                                   2 PRHTA submitted Pre-retirement Plan to Office of Management and Budget (OMB) on December 2016 for approval

                                                                   Source: Analysis and Labor need by PRHTA ; Pre retirement analysis by PRHTA; Operating budget 2016                          25
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Organizational Transformation Fiscal Measure (2/2) Exhibit B Page 27 of 58




Measures                                                                              Results
                                                                                     $ millions, Full year impact

  1c   Overhead Savings
                                                                                                            7.0       10.4      12.7       15.3      15.3      15.3   15.3    15.3
        Additional operational expenses savings due organizational                    0.0        3.5
         transformation which include utilities expenses such as
         energy, water, etc. for the 10 year period




  1d   Outsourcing Costs
                                                                                       0.0
        Incremental costs associated with increasing contract
                                                                                                 -4.4       -7.3     -10.5      -13.3     -15.7
         management                                                                                                                                 -17.5     -20.0   -22.5   -25.0




  1e   Rent Reduction
                                                                                       0.0        1.0       1.0        1.0       1.0       1.0        1.3       1.3    1.3     1.3
        Rent reduction due to a decrease in organization size
                                                                                      2017p 2018p 2019p 2020p 2021p 2022p 2023p 2024p 2025p 2026p




                                                                 Source: Analysis and Labor need by PRHTA ; Pre retirement analysis by PRHTA; Operating budget 2016                   26
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Optimization of Outsourced Operations  Exhibit B and
                                                 Page 28Development
                                                         of 58              of
Real Estate Program Fiscal Measures
 Measures                                                                               Results
                                                                                        $ millions, Full year impact
 2   Optimization of Outsourcing Operations
      PRHTA believes it can obtain additional savings in their Transit Services.                                            7.0      10.4   12.7   15.3   15.3   15.3   15.3
                                                                                                 0.0      0.0       3.5


 3   Revenues from new Dynamic Toll Lanes (DTL)
      As presented in the current CIP, on 2018, PRHTA will begin the
                                                                                                 0.0      0.0      0.0       3.0      6.0    6.0    6.0    6.0    6.0    6.0
       implementation of a DTL on PR-52 and PR-18 with expected operation
       start date on 2020
 4   Toll Collection Optimization
      An update of toll hardware and software will result in an increase in
       revenues by an amount of 2% of collected revenues per toll updated
      Tolls will be updated at 5 per year and revenues are seen on next fiscal                  0.0      5.9       6.7      7.5      8.0    8.0    8.1    8.2    8.4    8.6
       year
      Updates will start on most profitable tolls that cover over 45% of total
       revenues for the 2nd year, 65% the 3rd , 85% the 4th and 100% onwards
      Ponce and Caguas Norte tolls will be made bi-directional which will
       increase 10% of its toll revenues
 5   Additional Revenue Initiatives
      Reactivation of the Joint Development Program which provides for residential
       and commercial projects in the Tren Urbano corridor. Currently two initiatives
       are underway with additional $2.0 M in revenues to the PRHTA in the first year
       and over $80 M private investment.
      The development of a noncore real estate asset disposition program that can               0.0      3.8       1.8      1.8       1.8   1.8    1.8    1.8    1.8    1.8
       represent additional income of approximately $1.5M per year.
      Toll Concessions Advertisement and ATM services agreement which is
                                                                                               2017p 2018p 2019p 2020p 2021p 2022p 2023p 2024p 2025p 2026p
       estimated at $275K in the 10 year period.
      Implementation of Specific Service Signs in Toll Highway Concessions
       approximately $250K per year. Additional income if implemented in non-
       concession toll highways.



                                                                             1 Tren Urbano Operations are completely outsourced
                                                                             Source: Operating budget 2016; Operational Analysis by PRHTA                                       27
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Financial Gap after measures and Debt Service                       Exhibit B Page 29 of 58



Projected Financial Gap over the 10 year period
$ thousands
                                                                                                                                                                                                             Total
                                                              2016-17 P   2017-18 P     2018-19 P    2019-20 P    2020-21 P    2021-22 P    2022-23 P    2023-24 P    2024-25 P    2025-26 P          5 Yr           10 Yr
Total Fin. Gap Pre-Measures after Clawback                    $   (6,169) $    (5,924) $     9,091 $     10,014 $      9,332 $      9,830 $     11,295 $     13,744 $     17,107 $     21,439     $    16,344 $        89,759
Less: Transfer from Government of PR (9)                      $ (119,340) $ (119,340) $ (119,340) $ (119,340) $ (119,340) $ (119,340) $ (119,340) $ (119,340) $ (119,340) $ (119,340)             $   (596,700) $ (1,193,400)
Total Fin. Gap Pre-Measures before Gov. Funding               $ (125,509) $ (125,264) $ (110,249) $ (109,326) $ (110,008) $ (109,510) $ (108,045) $ (105,596) $ (102,233) $            (97,901)   $   (580,356) $ (1,103,641)


Measures
Meas. aimed at a Organizational Transformation
 Organization Transformation                                  $     -     $    11,633 $     19,938 $ 27,883 $ 35,639 $ 42,220 $ 46,756 $ 53,353 $ 59,480 $ 66,465                                 $    95,094 $       363,368
 Pre-Retirement program Act                                         -           1,540        2,119     3,936    4,406    5,127    6,257    7,161    8,449    9,089                                     12,001          48,085
 Overhead Savings                                                   -           3,475        6,950    10,425   12,741   15,290   15,290   15,290   15,290   15,290                                     33,591         110,041
 Outsourcing Costs                                                  -          (4,360)      (7,301)  (10,532) (13,255) (15,672) (17,547) (20,030) (22,484) (25,008)                                   (35,449)       (136,191)
 Rent Reduction                                                     -             950          950       950      950    1,045    1,254    1,254    1,254    1,254                                      3,800           9,861
  Total Organizational Transformation                         $     -     $    13,238 $     22,656 $ 32,662 $ 40,481 $ 48,010 $ 52,010 $ 57,028 $ 61,988 $ 67,090                                 $   109,038 $       395,164
Meas. aimed at Mass Transportation Optimization
 Optimization of Outsourcing Operations                       $     -     $       -     $    3,475   $    6,950   $   10,425   $   12,741   $   15,290   $   15,290   $   15,290   $   15,290     $    20,850   $      94,751
 Revenues from DTL                                                  -             -            -          3,000        6,000        6,000        6,000        6,000        6,000        6,000           9,000          39,000
  Ponce Sur and Caguas Norte Bidirectionality                       -           4,223        4,259        4,296        4,279        4,292        4,334        4,404        4,496        4,613          17,056          39,195
  Increase vehicle classification                                   -             432          624          816          960          960          960          960          960          960           2,832           7,632
  Toll Leakage Minimization                                         -           1,236        1,801        2,376        2,784        2,792        2,820        2,865        2,925        3,001           8,197          22,601
 Toll Collection Optimization                                 $     -     $     5,891   $    6,684   $    7,488   $    8,022   $    8,044   $    8,114   $    8,229   $    8,382   $    8,575     $    28,085   $      69,428
 Additional Revenue Initiatives                                           $     3,778   $    1,778   $    1,778   $    1,778   $    1,778   $    1,778   $    1,778   $    1,778   $    1,778     $     9,111   $      17,998
    Total Measures                                            $     -     $    22,907   $   34,592   $   51,878   $   66,706   $   76,572   $   83,192   $   88,325   $   93,438   $   98,732     $   176,083   $     616,341
Total Fin. Gap after Measures before Gov. Funding             $ (125,509) $ (102,357) $     (75,657) $   (57,448) $   (43,301) $   (32,938) $   (24,853) $   (17,271) $   (8,796) $       831     $   (311,701) $    (487,300)


Summary of Results
•        PRHTA Fiscal Measures of $616 MM are expected in the next ten years
•        Without the assumption of continued transfers from the Government of Puerto Rico totaling $1,193 million, PRHTA has a funding gap after
         clawback before Government funding of $ 1,103 million before measures
•        PRHTA fiscal measures of $616 million are expected to reduce the funding gap to $487 million after measures before Government funding and
         before debt service. Once the Central Government confirms that the impact of such measures have been fully realized, then they will proceed
         to make the necessary adjustments to “Transfers from Government of PR”




                                                                              Source: PRHTA Management Assessment ; Pre-retirement Plan submitted to OMB; Operating budget 2016
                                                                                                                                                                                                                             28
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Pursue guiding principles to address  the
                                  Exhibit   financial
                                          B Page 30 of 58 gap and re-focus PRHTA
towards its objectives

   Obtain an       • Obtain organization with the necessary resources to meet objectives and provide the services required
    efficient      • Have a properly sized organization according to active project need
  organization     • Engage the best resources available to move PRHTA agenda forward

  Strengthen       • Maintain strong communication with FHWA & FTA
  partnership      • Comply with FHWA MOU and move forward towards full compliance
  with federal     • Communicate Fiscal Plan to Federal Agencies and work together towards a sustainable solution
   agencies        • Discuss support from FHWA & FTA to help re-position PRHTA’s as a first class Federal Grantee and infrastructure developer
      Improve      • Focus infrastructure program on improvements to current Highway system, finishing interstate system, congestion
  infrastructure     mitigation and safety projects
   towards new     • Implement data driven process for project selection based on asset ROI
     standards     • Maximize deployment of federal funds

   Create a        • Obtain a sustainable debt structure to allow for provision of services and realistic economic growth infrastructure
  sustainable      • Evaluate new structures used in other jurisdictions
 debt structure

     Improve       • Set-up processes and organization to streamline project delivery and improve average project times from planning to
      project        completion (MOU Project to achieve this)
     delivery      • Implement new contracting practices, such as CHICA1 Contracts
  effectiveness    • Maintain close communication with Federal Agencies and improve internal controls and feedback loops

   Adhere to       • Assure measures from Fiscal Plan are budgeted, as well as all expenses associated with core services
   Financial       • Establish a zero-based budget approach and the culture required to sustain it
 Control Reform    • Implement procurement process reform as established in the Government of Puerto Rico’s Fiscal Plan




                                                           1 CHICA contracts are hybrid contracts with contingencies and acceleration clauses

                                                                                                                                                 29
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VI. DEBT SUSTAINABILITY




                                                                                        30
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PRHTA Debt Structure                                  Exhibit B Page 32 of 58



Current Debt Structure
$ thousands
                                 6,348,913



                                              • 24 expired lines of credits with GDB @ 6.00%
Expired GDB Line of Credit       1,812,979




                                 425,135      • Serial Bonds maturing through 2034 with interest ranging from 3.30% to 6.50%
       Resolution 68-18
                                 404,995      • Term Bonds maturing through 2039 with interest ranging from 4.00% to 6.00%
                                  24,462      • Capital Appreciation Bonds maturing through 2026 with interest ranging from 4.36% to 4.58%

                                 1,247,730    • Serial Bonds maturing through 2037 with interest ranging from 2.25% to 5.75%




      Resolution 98-06

                                 1,830,145    • Term Bonds maturing through 2046 with interest ranging from 2.25% to 5.75%




       Net Bond Premium          251,105     • Variable Rate Bonds - USD SIFMA swap index less a spread of 0.5%
                   Other1        352,362

                                 FY 2016
                                                    1 Other Includes: $200MM in Variable Rate Bonds - USD SIFMA swap index less a spread of 0.5%, $57MM in CPI based interest-rate

                                                    bonds, reset monthly on CPI changes, $.7MM in LIBOR based interest rate bonds maturing through 2045, $93MM in Capital
                                                    Appreciation Bonds maturing through 2026 with interest ranging from 4.47% to 5.08%
                                                    Source: Draft PRHTA Unaudited Financial Statements FY2015
                                                                                                                                                                                     31
                                                                                                                               Pre-Decisional | Privileged & Confidential Draft | Analysis Subject to Material Change
                              Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19                                                            Desc:
                                                       Exhibit B Page 33 of 58
  Debt Sustainability

         As a result of the clawback of certain revenues to the Government of Puerto Rico, PRHTA has insufficient cash flows to
         service its debt

    1
         After accounting for the clawback, PRHTA does not have sufficient positive cash flows to support its expenses and debt
         service, requiring support from the Government of Puerto Rico to maintain essential operations

    2
         Even after accounting for the incremental positive cash flows of fiscal plan measures, PRHTA will require support from
         the Government of Puerto Rico to maintain essential operations and expenses


    Cash flow available for debt service ($ in millions)
                                                                                                                                                                                                Total
                                                     2017        2018         2019         2020         2021        2022         2023         2024          2025          2026           5 Yr           10 Yr
                                                 1
   Total Revenues After Federal Fund Transfers        $851.0     $916.9       $982.6 $1,049.3           $781.8       $777.3       $773.9       $771.3        $769.7       $770.0        $4,581.5       $8,443.6
   Clawback to Central Government                    ($531.0)   ($456.6)     ($454.8) ($456.1)         ($458.1)     ($453.1)     ($448.1)     ($442.9)      ($437.9)     ($433.9)      ($2,356.5)     ($4,572.5)
   Revenues net of Clawback                           $320.0     $460.3       $527.8   $593.2           $323.7       $324.2       $325.8       $328.3        $331.8       $336.1        $2,224.9       $3,871.1
   Total expenses                                    ($445.5)   ($585.5)     ($638.0) ($702.5)         ($433.7)     ($433.7)     ($433.8)     ($433.9)      ($434.0)     ($434.0)      ($2,805.3)     ($4,974.8)
1 Cash Flow available for Debt Service (pre-measures) ($125.5) ($125.3) ($110.2) ($109.3) ($110.0) ($109.5) ($108.0) ($105.6) ($102.2)                                    ($97.9)       ($580.4) ($1,103.6)
  Total Measures                                          $0.0     $22.9   $34.6    $51.9    $66.7    $76.6    $83.2    $88.3    $93.4                                      $98.7         $176.1         $616.3
2 Cash Flow available for Debt Service (post-measures) ($125.5) ($102.4) ($75.7) ($57.4) ($43.3) ($32.9) ($24.9) ($17.3)        ($8.8)                                       $0.8       ($404.3)        ($487.3)




    Government of Puerto Rico tax revenues conditionally pledged to support PRHTA obligations are excluded from PRHTA
    revenues and are included in the Government of Puerto Rico’s Fiscal Plan, while system toll revenue is assumed to be
    collected by PRHTA and applied to system expenses




                                                                1 Includes federal aid. Excludes revenue subject to clawback, measures and transfers to HTA from the Commonwealth



                                                                                                                                                                                                            32
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VII. Liquidity Situation




                                                                                          33
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 13-week Cash Flow Projection                                       Exhibit B Page 35 of 58




 Cash Positions before Measures
 $ thousands
                                                                        1                2                3               4                5                6                7                   8                   9                10                11                12       TOTAL
                                                               14-Apr           21-Apr           28-Apr           5-May           12-May           19-May           26-May           2-Jun               9-Jun               16-Jun            23-Jun            30-Jun
 1   Toll fares                                            $     2,200 $           2,650 $          1,700 $          3,400 $         2,200 $          2,650 $          1,700 $          3,400 $             2,200 $             2,650 $           1,700 $           2,650      $      29,100
 2   Transit Revenues (Non-Cash)                                   -                 -                -                -               -                -                -                -                   -                   -                 812               -                  812
 3   Electronic Toll Fines                                         227               227              227              227             227              227              227              227                 227                 227               227               227              2,718
 4   Other Income                                                  106               106              106              108             108              108              108              108                 108                 108            15,108               108             16,289
 5   Transfer from Government of PR                                -                 -             10,925              -               -                -              9,945              -                   -                   -                 -              10,625             31,495
 6     Subtotal - Operating Inflows                        $     2,533 $           2,983 $         12,958 $          3,734 $         2,534 $          2,984 $         11,979 $          3,734 $             2,534 $             2,984 $          17,846 $          13,609      $      80,414
 7   Gasoline Tax                                          $       -        $       -        $       -        $       -       $        -       $        -       $        -       $           -       $           -       $        -        $        -        $        -        $           -
 8   Diesel Tax                                                    -                -                -                -                -                -                -                   -                   -                -                 -                 -                    -
 9   Petroleum Products Tax                                        -                -                -                -                -                -                -                   -                   -                -                 -                 -                    -
10   Cigarettes taxes                                              -                -                -                -                -                -                -                   -                   -                -                 -                 -                    -
11   Motor Vehicle License Fees                                    -                -                -                -                -                -                -                   -                   -                -                 -                 -                    -
12   Act 30 - Licenses Fees Transferred to Act                     -                -                -                -                -                -                -                   -                   -                -                 -                 -                    -
13    Subtotal - Non Operating Inflows                     $       -        $       -        $       -        $       -       $        -       $        -       $        -       $           -       $           -       $        -        $        -        $        -        $           -
14 Federeal Aid - FHWA & Earmarked Projects                $     1,822 $           1,822 $          1,822 $          1,818 $         1,818 $          1,818 $          1,818 $          1,818 $             1,818 $             1,818 $           1,818 $           1,818      $      21,828
15 Federal Aid-FTA (Sec. 5307 & Sec. 5309)                         -                 -              1,667              -             1,667              -              1,667              -                   -                   -               1,667               -                6,668
16
17 Subtotal - Fedral Funding                               $     1,822 $           1,822 $          3,489 $          1,818 $         3,485 $          1,818 $          3,485 $          1,818 $             1,818 $             1,818 $           3,485 $           1,818      $      28,496

18      Total Inflows                                      $     4,355 $           4,805 $         16,447 $          5,552 $         6,019 $          4,802 $         15,464 $          5,552 $             4,352 $             4,802 $          21,331 $          15,427      $     108,910
19   Salaries and Benefits                                 $     3,601 $             -   $          3,601 $            -   $         3,601 $            -   $          3,601 $            -   $             3,601 $               -   $           3,601 $             -        $      21,606
20   Toll and Highway Administration                               -               2,026              -              2,026             -              2,026              -              2,026                 -                 2,026                               2,026             12,156
21   Tren Urbano                                                   -                 -              3,400              -             3,400                             3,400              -                   -                   -               4,212             7,712             22,124
22   First Transit                                                 -                 -              2,438              -             2,438              -              1,219              -                 1,219                 -               1,219               -                8,533
23 Construction Project Expense and Related 1                    1,972             3,072            1,972            1,968           1,968            2,868            1,968            2,182               2,182               2,982             3,417             4,682             31,231
24 Litigation Reserve 2                                            -                -               3,200             -                -                -              3,200                 -                   -                -               3,200               -                9,600
25 AP Prior Year3                                                  -                833             2,500             -               833              585             2,500                                 833                  -               1,216             2,500             11,800
   Additional investment required to appropriate federal
26 funds                                                           -                -                260              -                -                -              1,050                 -                   -                -               1,160               -                2,470
                             4
27 Other Operating Expenses                                        -                 -              3,972              -               -              3,972              -                -                   -                 3,972               -                 -               11,916
28
29     Total Outflows                                      $     5,573 $           5,931 $         21,343 $          3,994 $        12,240 $          9,451 $         16,938 $          4,208 $             7,835 $             8,980 $          18,025 $          16,920      $     131,436
30 Net Cashflow Excluding Measures & Clawback              $ (1,218) $            (1,126) $        (4,896) $         1,558 $        (6,221) $        (4,649) $        (1,474) $         1,345 $            (3,482) $           (4,177) $          3,307 $          (1,492)     $     (22,527)
31
32 Cash Position, Beginning
33                                                         $ 28,983 $             27,765 $         26,638 $         21,742 $        23,300 $         17,080 $         12,431 $        10,957 $            12,302 $              8,820 $           4,642 $           7,949      $      28,983
34 Cash position, Ending                                   $ 27,765 $             26,638 $         21,742 $         23,300 $        17,080 $         12,431 $         10,957 $        12,302 $              8,820 $             4,642 $           7,949 $           6,456      $       6,456


                                                                                             1 $2.5 millons – Barrio Obrero transfer to AAA
                                                                                             2 $2.0 millons R/W, $600 thousand legal fee, $400 thousand reserve
                                                                                             3 $2.2 millons States certifications , $405 thousands arbitral award ACI
                                                                                             4 Utilities, Insurance, Rentals and others operating costs

                                                                                             Source: PRHTA Management Estimates                                                                                                                                                       34
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VIII. Implementation Plan




                                                                                         35
                                                                                        Pre-Decisional | Privileged & Confidential Draft | Analysis Subject to Material Change
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Strong governance at both the entity and project level will ensure implementation
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compliance of Fiscal Plan
                  • Puerto Rico Act 74-1965, as amended, which creates the Puerto Rico Highway and Transportation Authority, provides
                    for a Board of Directors composed of seven members, three of which are to be appointed by the governor with the
                    consent and advice of the Senate for (4) year term. One of them is required to be a licensed engineer, one must have
                    ample knowledge and experience in the field of finance, and one is to be selected from a list to be provided by
                    professional and non-governmental organizations. The other members of the board are the Secretary of
                    Transportation and Public Works, the Executive Director of FAFAA, the President of the Planning Board and the
                    Secretary of the Treasury.
                  • The Board composition described above provides the necessary balance between the government interest with
 Entity Level-      respect to the implementation of public policy and the members appointed based on their merit and professional
 Governance         knowledge and experience. It is management belief that in order to enhance continuity and knowledge transfer
                    between political cycles, terms of the three members from the private sector be increased from 4 to 6 years
                    ensuring a more stable and independent corporate leadership.
                  • The Board has approved bylaws through resolution 2014-17 that clearly define the role and responsibilities of the
                    Board. In summary, the Board is responsible for the governance of the Authority, the appointment of an Executive
                    Director that in turns manages the operations and reports to the Board, the approval of the budget, overseeing
                    compliance, approving major contracts beyond the delegations allowed to the Executive Director, monitoring the
                    auditing process and ensuring the Authority performs according to its purpose and outline objectives.

                  • The Authority's staff are government employees subject to the merit principle. As such they are not subject in general
                    to changes in political cycles. Senior management is composed of “trust positions” appointed by the Board and the
 Entity Level -     Executive Director. As a result of the current financial crisis, most of the trust positions have been filled with current
 Management         employees. This has the adding benefit of reducing salary costs and employee benefits while maintaining the
& Performance       knowledge toward the future with employees that will continue in the agency independent of the political cycle.
  Indicators
                  • Together with the Statistics Institute, the Authority will design and implement a new set of standard indicators that
                    will be followed and monitored to determined the level of performance being achieved.




                                                                                                                                                                          36
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 At a project level, PRHTA will establish a Project Management Office (PMO) to
                                                            Exhibit B Page 38 of 58

 effectively implement PRHTA’s critical projects
 PRHTA will establish a PMO with the required organization and processes to assure it can effectively implement the fiscal measures, MOU
 initiatives and the reforms proposed by the Central Government’s fiscal plan

  Main Elements of the PMO                                                                                    Primary Initiatives

                                                          • Make sure the PMO goals are aligned
                                                            with PRHTA strategic objectives and               I.    Fiscal Measures:
                                           Strategy         that projects are correctly prioritized.                   1) Transform organization from an in-
                                                                                                                           house infrastructure developer to
                                                                                                                           contract management
                                                                                                                       2) Optimize Outsourced Operations
                                                                                                                       3) Develop non-core Real Estate
                                                                                                                           Program
              Risk and                    Effective                   Governance
               Audit                        PMO
                                                                                                              II.   MOU Initiatives

• Assure PMO identifies risks, their                            • Ensure PMO has visibility and credibility   III. Financial Reform
  probability and implications                                    by participating in all decision making
  through validated procedures                                    forums (PRHTA and Central                           1) Budget
  while ensuring quality and                                      Government)                                         2) Procurement
  adherence to PRHTA as well as                                                                                       3) Disbursement
  with Central government key             Monitoring
  strategies                              & Reporting




                                       • Ensure PMO implements effective and
                                         comprehensive oversight and
                                         monitoring through adequate
                                         performance metrics, to the correct
                                         audience in the needed timeframe




                                                                                                                                                               37
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PMO guiding principle and actions definition

PMO Element                                  Guiding Principle                                                 Action Step

        Strategy                                                                        • Define PMO strategy and objectives
                                   • Alignment between PMO governance and
                                                                                        • Define projects to prioritize based on organization’s strategy, such as
                                     business strategy
                                                                                          Fiscal Measure and MOU initiatives
                                                                                        • Standardize methodologies, procedures and templates for projects



                                                                                        • Implement tools for risk assessment, such as a risk probability
        Risk & Audit                                                                      matrix
                                   • Assurance on effective internal controls and       • Set up an Internal auditing committee to guide actions
                                     risk mitigation                                    • Strengthen requirements for continuous monitoring of risks
                                                                                        • Enhance transparency and competition in contractor selection
                                                                                          process
                                                                                        • Enable recording and tracking of issues and action plans

        Monitoring & Reporting
                                                                                        • Develop appropriate Key Performance Indicators (KPIs) with the
                                   • Oversight and monitoring through adequate            adequate frequency and audience
                                     performance metrics                                • Implement reporting tools to allow for proper visibility, such as
                                                                                          visual boards


                                                                                        • Place PMO to directly report to Executive Director’s office or
         Governance                                                                       Steering Committee
                                   • Visibility and Credibility assurance and           • Coordinate and allocate skilled resources to deliver, monitor and
                                     centralize decision making                           control any governance initiatives
                                                                                        • Provide a structure through which project objectives are set and the
                                                                                          means of attaining those objectives are met




                   Source: Signed Memorandum of Understanding MOU-PR2016-02-29-094734                                                                          38
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PMO Organizational Structure
                                                                                                                 FOR ILLUSTRATION PURPOSES

                                                          Steering Committee
                                     Executive director             HR Director                              The Steering Committee will be
                                     Deputy Executive Director      Infrastructure Director                   ultimately responsible for the
                                     Legal counsel                  Deputy Director for Integrated                 project, which includes
                                     Deputy Executive Director for   Transportation Alternative                      validating objectives,
                                      Finance & Administration                                                 facilitating resources, approving
                                                                                                                 designs and making all final
                                                                                                                            decisions.
                           Executive Sponsor
                                                          Project Coordinators
                                                       • Assigned as per project
                                                         scope and requirements                              PMO Work Team
              The Project Coordinators serve                                                            Will include key decision
              as the main contact persons to                                                             making members from
                  facilitate scheduling and                                                              impacted areas and the
                       communication.                                                                    needed project managers




                                                                                                                          The Work Team is
                     1                         2                      3                    4                          responsible for the day-to-
                                                   Construction           Mass Transit                                   day activities of the
       Focus Areas       Pre-Construction                                                   Other Department          project, including analyses,
                                                   Management             Management
                                                                                                                      delivery of work products,
                                                                                                                      communication of project
                                                                                                                      status and coordination of
                                                                                                                      meetings with the Steering
                                                                                                                              Committee.




                                                                                                                                                   39
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Project Management General Timeline

                                                                                                                          To be discussed in detail




             PMO Creation                           Refine Project Plans                    Implementation & Execution



Time                  6 weeks                           6 weeks                                       On going


Activities   • Setting up project        • Creation of team charters, milestones   • Development and implementation of master
               selection and               and work plans                            plans
               prioritization process    • Perform Stakeholder analysis            • Execution, monitoring and project control
             • Defining PMO’s areas of   • Establish risk matrix mitigation plan   • Structuring of project interaction processes
               responsibility ,          • Development of Key Performance          • Implementation of standards and reporting tools
               hierarchical position       Metrics (KPI’s)
               and competencies                                                    • Implementation of project management process
                                                                                     improvements
             • Establish needed roles
               and organization to                                                 • Integration of PRHTA resources to project
               support initiatives                                                   management support team
             • Define general work
               plan




                                                                                                                                               40
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Implementation plan for Key Initiatives (2017 – 2020)  Exhibit B Page 42 of 58




                                             Año             2017                           2018                                2019                       2020
Fiscal Initiatives
Organizational Transformation

Optimization of Outsourcing Operations                                                    01/01/2018 - 05/03/2018

                                                                  Design                             Construction
Revenues from new Dynamic Toll Lanes (DTL)
                                                                                                                                                    Begin Operation
Toll Collection Optimization

Other Revenue Initiatives
Fiscal Reform
Budget

Procurement                                                                          06/01/2017 - 03/03/2018


Disbursement
                                                                                                                     10/01/2017 - ongoing
MOU Initiatives

Federal Aid Billing Procedures                                                                                                                      04/01/2017 - 02/29/2020


Toll Credits

Organizational Capacity Development                  03/31/2017                                                                               03/01/2017 - 12/31/2019
                                                   NTP            10/29/2017
                                                                               Final Report w/ Implementation Plan

Expediting Project Delivery




                         Source: Signed Memorandum of Understanding MOU-PR2016-02-29-094734                                                                                   41
                          Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19                                                     Desc:
Fiscal Measures Implementation Timeline            Exhibit B Page 43 of 58




                                                                                                         2017                                                  2018
     Fiscal Measures                                                     May.      Jun.     Jul.     Ago. Sept.         Oct.     Nov.      Dic.     Ene.     Feb. Mar.   Abr.

 1   Organization Transformation

     Perform Capacity Analysis and Design from OCD initiative
                                                                                            04/01/2017 - 12/31/2017
     Establish roadmap to effective organization
                                                                                                                        11/01/2017
     Optimize resources through Transformation
     & Flexibility Act of 2017 and/or outsourcing when appropriate                                                                                       01/28/2018 – on going*

     Pre-Retirement Program Act Approval from OMB                                                                                        Future waves of employees may occur)
     (evaluate additional waves of employees)                                               08/01/2017                         08/01/2017 – on going

     Establish required physical space and determine rent impact
                                                                                                                                               12/31/2017 - 03/31/2018

 2   Optimization of Outsourcing Operations

 3   Dynamic Toll Lane

 4   Toll Collection Optimization

     Develop implementation plan and timeline
                                                                                                                  10/15/2017
     Develop requirements and publish RFP


 5   Additional Revenues Initiatives




                                                          * As per Financial Projections in Fiscal Plan, measures will be implemented through the 10 years
                                                                                                                                                                                  42
                       Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19                            Desc:
Financial Reform Implementation Timeline        Exhibit B Page 44 of 58




                                                                                            2017                                    2018
     Fiscal Reform                                                     May. Jun.   Jul.   Ago. Sept. Oct. Nov. Dic.     Ene. Feb. Mar. Abr. May.

     Budget

     Definition of Core Services

     Inclusion of tracking mechanisms                                                         12/31/2017 - 03/09/2018

     Implementation of a Zero-based Budget
                                                                                                          07/02/2017 - ongoing

     Procurement

     Categorize goods and services
                                                                                                                  01/01/2018 - 03/03/2018
     Creation of PMO Office
                                                                              06/01/2017 - 10/28/2017
     Review procurement contracts
                                                                                                      11/01/2017 - 12/31/2017
     Disbursement

     Establishment of Disbursement Authorization Group
                                                                                                   10/01/2017 - 12/30/2017
     Priority payment protocol based on Core Services Definition
                                                                                                                  12/31/2017 - 03/01/2018
     Implementation of Rolling 13-week forecast and weekly reporting
                                                                                                          07/01/2017 – ongoing




                                                                                                                                                   43
                             Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19                                                     Desc:
MOU Initiatives Implementation Timeline               Exhibit B Page 45 of 58




                                                                                                                   2017                                         2018
MOU Initiatives                                                                            May. Jun. Jul. Ago. Sept. Oct. Nov. Dic. Ene. Feb. Mar. Abr. May. Completed1
I. Federal –aid Billing Procedures
Implement 100% EFT to contractors
                                                                                                                                  On going
Achieve 40 days lead time for contractor payment
                                                                                                                                  On going
Upgrade Billing electronic tracking system
                                                                                                                                 July 2017 – July 2018
Achieve next day payment after fund receipt
                                                                                                                                  On going
II. Toll Credits
Identify & Validate existing balance of toll credits
Design & Implement changes to the approval, tracking & reconciliation processes
                                                                                                                                 July 2017 – July 2018
III. Organizational Capacity Development
Billing Process Diagnostic of Current Situation
                                                                              04/01/2017 - 05/31/2017
Billing Process Design & Recommendations
                                                                                        06/01/2017 - 07/31/2017
Project Development Process Diagnostic of Current Situation
                                                                                  04/01/2017 - 06/30/2017
Project Development Process Design & Recommendations
                                                                                                     07/01/2017 - 10/20/2017
IV. Expediting Project Delivery
Improve email communication system through                                                  Email migration completed on Feb 2017
Improve Project Management System (PMIS)
                                                                                                                       02/24/2017 - 02/23/2023
Report reason & action plan for projects with less than 5% of expended funds
Develop & Submit schedule to accelerate obligation of allocated funds




                                                              1Action items from MOU completed; however, efforts still remain in assuring sustainability of those efforts
                                                                                                                                                                            44
                                                          Pre-Decisional | Privileged & Confidential Draft | Analysis Subject to Material Change
        Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19                   Desc:
                                 Exhibit B Page 46 of 58




IX. APPENDIX: PRHTA’s MASS TRANSIT OPERATION
OVERVIEW (INCLUDING TREN URBANO OPERATION)



                                                                                                                                            45
                                                                 Pre-Decisional | Privileged & Confidential Draft | Analysis Subject to Material Change
               Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19                   Desc:
Tren Urbano is the first rapid transit system in the Caribbean and one of the
                                        Exhibit B Page 47 of 58

most modern in the United States
                                           About Tren Urbano

  •   The Tren Urbano is the heavy rail
      component       of    the     metropolitan
      transportation system. It encompasses a 16
      stations alignment along 10.7 miles across
      the cities of Bayamón, Guaynabo and San
      Juan that serves as the spinal cord of the
      multimodal public transportation

  •   The Tren Urbano complements other forms
      of public transportation services in the San
      Juan metropolitan area such as the
      Metropolitan Bus Authority, Cataño Ferry,
      taxis and shuttles

  •   Currently underperforming its original
      ridership projections, it provide service to
      approximately 30,000 passengers daily with
      increase ridership during special events



                                                                              Source: http://www.dtop.gov.pr/historia.asp                          46
                                                                                                            Pre-Decisional | Privileged & Confidential Draft | Analysis Subject to Material Change
                           Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19                                                  Desc:
Ridership increased from the 8-9MM range to the 10-11MM range when prices
                                                    Exhibit B Page 48 of 58

were reduced from $1.50 to $0.75, negatively impacting revenue levels

                 Historic Trends Tren Urbano: Ridership & Revenue

                                                                                                                 Fare System
11,500,000
                             11,056,644
                                                      10,909,438         10,877,223
11,000,000                                                                                10,731,482                • Regular                   $1.50
                                               10,562,510
10,500,000
                                                                                   10,399,180                       • Medicare Participants     $0.75
10,000,000                                                                                                          • Golden Age (60 a 74 años) $0.75
                                9,530,458
 9,500,000
                                                                                                                    • Handicapped Citizens      $0.75
                                                                                      8,958,243                     • Students                  $0.75
 9,000,000
                                                                                                                    • Elderly (above 75 y/o)     Free
 8,500,000                                                                                      8,251,210
                                                   7,955,001                 8,020,030                              • Children (< 6 y/o)         Free
 8,000,000

 7,500,000                                                                                                          • Unlimited Use
 7,000,000                          Fare prices were reduced from $1.50                                                   – Day:                                     $5.00
 6,500,000                           to $0.75 on April 2010 and raised                                                    – Week:                                   $15.00
                                      back to $1.50 on October 2014
 6,000,000                                                                                                                – Month :                                 $50.00
 5,500,000                                                                                                                – 3 Months:                               $90.00
 5,000,000              Ridership
 4,500,000              Train Revenue in $

 4,000,000
          FY06   FY07    FY08     FY09      FY10     FY11      FY12   FY13     FY14      FY15     FY16

             Note: TU started revenue service in June 6, 2005



                 Source: PRTHA                                                                                                                                                                47
                                                                        Pre-Decisional | Privileged & Confidential Draft | Analysis Subject to Material Change
                  Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19                       Desc:
PRHTA manages a series of mass transit bus systems servicing customers in the
                                           Exhibit B Page 49 of 58

Metro Area
                                      First Transit Network-3rd Party Provider

    • The Metrobus routes (E10 and T3 routes) run and extend
      through the heavy transited corridor between Tren Urbano
      Sagrado Corazón Station and the Covadonga Bus Terminal
      in Old San Juan

    • TU Conexión service consists of four (4) fixed route bus
      service provided with smaller vehicles in areas where
      regular bus vehicles cannot be use due to geometrical
      limitations on the street network, or where travel demand
      cannot justify the use of regular transit buses in the vicinity
      of selected Tren Urbano Stations (Sagrado Corazón and
      Piñero).

    • Metro Urbano is an express commuter type service, with
      stops only at the end points of the route, the Campanillas-
      Toa Baja Park-and-Ride Station and the Tren Urbano
      Bayamon Station.




                                                                                     Source: http://www.dtop.gov.pr/historia.asp                          48
                                                                                Pre-Decisional | Privileged & Confidential Draft | Analysis Subject to Material Change
                        Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19                         Desc:
                                                 Exhibit B Page 50 of 58
10-Year Projected Financial GAP for PRHTA’s mass transit operation
Financial Gap Pre-Measures
$ millions                                *



                                                                                                                                               Revenues
                                                                                                                                               Federal Funds
                                                           $317                              $688
                                                                                                                                               Revenues + Fed Funds
                                                                          $12                                                                  Expenses

                        $12        $117                                                                                                        GAP
         $105
                                                $200



       Transit        Other       Total        Federal      Total     Salaries &                               Integrated
      Revenues       Income     Revenues      Funds-FTA   Revenues     Benefits                                Transporta
                                                            after                                                 tion
                                                           Federal                                               System
                                                            Fund                            Train
                                                          Transfers                       Operating
                                                                                          & Maint.                 $141                 -$524
                                                                                            Costs
                                                                                                                                       Total Fin.
                                                                                                                                         Gap




                                                                                                                                                                  49
                                                                                                                              Pre-Decisional | Privileged & Confidential Draft | Analysis Subject to Material Change
                                       Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19                                                        Desc:
Baseline projections for PRHTA’s mass transit operation results in a $524 million
                                                                Exhibit B Page 51 of 58

financial gap for the next ten years
Projected Financial Gap over the 10 year period
$ thousands


                                                                                                                                                                                                    Total
                                                         2016-17 P      2017-18 P     2018-19 P   2019-20 P    2020-21 P    2021-22 P   2022-23 P   2023-24 P   2024-25 P   2025-26 P        5 Yr           10 Yr
 Revenues
  Transit Revenues (1)                                       10,200          10,200      10,404       10,612       10,612      10,612      10,612      10,612      10,612      10,612          52,028        105,088
  Other income (2)                                            1,200           1,200       1,200        1,200        1,200       1,200       1,200       1,200       1,200       1,200           6,000         12,000
   Total Revenues                                        $   11,400 $        11,400 $    11,604 $     11,812 $     11,812 $    11,812 $    11,812 $    11,812 $    11,812 $    11,812    $     58,028 $      117,088

  Federal Aid-FTA (Sec. 5307 & Sec. 5309) (1)                20,000          20,000      20,000       20,000       20,000      20,000      20,000      20,000      20,000      20,000         100,000        200,000
     Total Revenues After Federal Fund Transfers         $   31,400 $        31,400 $    31,604 $     31,812 $     31,812 $    31,812 $    31,812 $    31,812 $    31,812 $    31,812    $    158,028 $      317,088
 Expenses                                                                                                                                                                                                        -
     Salaries and related benefits (3)                      (1,200)          (1,200)      (1,200)      (1,200)    (1,200)    (1,200)    (1,200)    (1,200)    (1,200)    (1,200)               (6,000)       (12,000)
     Train operating and maintenance costs (1)             (65,360)         (66,478)     (68,090)     (69,733)   (69,733)   (69,733)   (69,733)   (69,733)   (69,733)   (69,733)             (339,394)      (688,059)
     Integrated transportation system (1)                  (14,076)         (14,075)     (14,075)     (14,075)   (14,075)   (14,075)   (14,075)   (14,075)   (14,075)   (14,075)              (70,376)      (140,751)
       Total operating expenses                          $ (79,436) $       (80,553) $   (82,165) $   (83,808) $ (83,808) $ (83,808) $ (83,808) $ (83,808) $ (83,808) $ (83,808)         $   (415,770) $
                                                                                                                                                                                                       $    (840,810)
                                                                                                                                                                                                                 -
 Total Fin. Gap Pre-Measures                             $ (48,036) $       (49,153) $   (50,561) $   (51,996) $ (51,996) $ (51,996) $ (51,996) $ (51,996) $ (51,996) $ (51,996)         $   (251,742) $    (523,722)


1)     Same assumptions as used in PRHTA Fiscal Plan (Section V, p. 34)
2)     Other Income includes revenues from $600k from Metrobus ridership and about $600K coming from Advertising
3)     Salaries and benefits assumed to continue at same rate as in FY2016 & FY2017




                                                                                                                                                                                                                    50
                                                                                                                     Pre-Decisional | Privileged & Confidential Draft | Analysis Subject to Material Change
                                 Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19                                                     Desc:
Some measures included in Section V, will have a direct impact on PRHTA Mass
                                                          Exhibit B Page 52 of 58

Transit Operation (including Tren Urbano)
1       Transform organization from an in-house                                               Results
                                                                                              $ millions, Full year impact
        infrastructure developer to contract management
         Organize PRHTA into a world class infrastructure developer and
          manager moving towards a contract management business model,                          0.0       0.0                  0.0        0.1        0.1        0.5        2.0       2.0        2.0
          such as done today for different functions. Impact includes net savings                                    0.2
          from Organizational Transformation, Pre-Retirement Program,
          Overhead Savings, Additional Outsourcing costs and Rent Reduction


2       Optimization of Outsourcing Operations
         PRHTA believes it can obtain additional savings in their Transit Services                                            7.0       10.4       12.7      15.3       15.3       15.3       15.3
                                                                                                0.0       0.0        3.5
          by promote more competition in the acquisition of equipment and
          services to guarantee the best possible prices
                                                                                              2017p 2018p 2019p 2020p 2021p 2022p 2023p 2024p 2025p 2026p

    3    Commercial Real Estate Development
              The Tren Urbano Alignment posses a considerable amount of
               currently unused Commercial Retail Space. An initiative is underway
               market and lease those spaces. This initiative will represent additional                Initiative is under management evaluation/analysis.
               revenue and will enhance the experience of users of the system as                       Current expectation is to generate incremental revenues
               increase ridership will make stations not only points of access to the
               rail system and its surroundings, but also destinations themselves.
                                                                                                       of $25K per year starting with FY 2018


    3   Additional Measures to Reduce Transit Losses
              Generate additional revenues from Advertising & Filming Rights
              Participate in Competitive Grants to procure additional Federal Funding                 Initiative is under management evaluation/analysis. Initial
              Increase Safety Programs and Measures to reduce at a minimum patron                     expectation is to generate incremental revenues of $400K
               claims                                                                                  at peak levels
              Implement additional digital surveillance to reduce vandalism and
               perimeter breaches in so doing reducing costs associated to this activities

                                                                         1 Assumes Labor Transformation and Flexibility Act of 2017 applies to PRHTA and resources can be relocated appropriately
                                                                         2 PRHTA submitted Pre-retirement Plan to Office of Management and Budget (OMB) on December 2016 for approval

                                                                         Source: Analysis and Labor need by PRHTA ; Pre retirement analysis by PRHTA; Operating budget 2016                            51
                                                                                                                    Pre-Decisional | Privileged & Confidential Draft | Analysis Subject to Material Change
                                      Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19                                               Desc:
Financial Gap after measures                                   Exhibit B Page 53 of 58



Projected Financial Gap over the 10 year period
$ thousands

                                                                                                                                                                                        Total
                                                  2016-17 P    2017-18 P     2018-19 P  2019-20 P 2020-21 P 2021-22 P 2022-23 P 2023-24 P 2024-25 P 2025-26 P                    5 Yr           10 Yr
Total Fin. Gap Pre-Measures                       $ (48,036) $     (49,153) $ (50,561) $ (51,996) $ (51,996) $ (51,996) $ (51,996) $ (51,996) $ (51,996) $ (51,996)          $   (251,742) $    (523,722)
Measures
 Organizational Transformation (1)                $     -   $         -    $      (232) $        30 $       77 $      124 $       546 $     1,957 $     1,957 $     1,957    $       (125) $      6,416
 Optimization of Outsourcing Operations (1)       $     -   $         -    $     3,475 $      6,950 $   10,425 $   12,741 $    15,290 $    15,290 $    15,290 $    15,290    $     20,850 $      94,751
Total Impact from Measures                        $     -   $         -    $     3,243 $      6,980 $   10,502 $   12,865 $    15,836 $    17,247 $    17,247 $    17,247    $     20,725 $     101,167

Total Financial Gap after Measures                $ (48,036) $     (49,153) $   (47,318) $   (45,016) $ (41,494) $ (39,131) $ (36,160) $ (34,749) $ (34,749) $ (34,749)      $   (231,017) $    (422,555)




Summary of Results
• PRHTA’s mass transit operation Fiscal Measures of $101 MM are expected in the next ten years
•       Funding gap expected to be reduced from $524MM to $423MM after measures
•       Management is assessing additional measures to close the GAP even further
•       Management to complete PRITA (Puerto Rico Integrated Transit Authority) integration in order to enable further
        significant savings and revenue enhancements opportunities




                                                                          Source: PRHTA Management Assessment ; Pre-retirement Plan submitted to OMB; Operating budget 2016
                                                                                                                                                                                                       52
                                                                        Pre-Decisional | Privileged & Confidential Draft | Analysis Subject to Material Change
                  Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19                       Desc:
A way forward for all Mass Transit operations (within PRHTA) including
                                           Exhibit B Page 54 of 58
Tren Urbano

               • The Puerto Rico Integrated Transportation Authority (PRITA) was created by Act 123-2014 to integrate
                 the different transportation programs under one single entity. A requirement prior to the full
   What is       integration within PRITA was acquiring Federal Grantee Status (currently the Tren Urbano project falls
   PRITA?        under the Puerto Rico Highway and Transportation Authority as Grantee of the Federal Transit
                 Administration)



               • The PRHTA new executive team is diligently working in partnership with PRITA and the FTA to complete
                 all pending requirements to obtain the Grantee Status. The law provides that once the grantee status
   Obtain
                 is granted to PRITA, PRHTA will fully transfer the TU Project to PRITA who will in turn, consolidate the
  Grantee
                 administration, finance, human resources and other management overhead of the current
  Status &
                 Metropolitan Bus Authority, the Maritime Transportation Authority and the Tren Urbano Project.
 Consolidate



               • Just like the PRHTA, PRITA is subject to the Public Policy established by the Department of
                 Transportation and Public Works but with this separation, the Tren Urbano can develop new ways to
   Achieve       enhance its profitability by integrating with the other transportation components, maximizing savings
   Planned       opportunities, focusing on the development of additional sources of revenue while establishing a
  Synergies      governance structure that guarantees stability throughout political cycles




                                                                                                                                                          53
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X. APPENDIX: FINANCIAL PROJECTIONS NOTES ON BASE
CASE SCENARIO



                                                                                        54
                   Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19      Desc:
Financial Projections AssumptionsExhibit
                                  andBNotes
                                         Page 56on
                                                of 58Base Case

Scenario

(1) Revenues from Tolls, Gasoline taxes, Diesel taxes, Petroleum Products taxes, Cigarette taxes and Vehicle License
     Fees are projected in a span of ten years using values from the Government of Puerto Rico Certified Fiscal Plan
(2) No change in toll tariffs is considered
(3) Revenues due to vehicle license fees are projected to remain constant per year
(4) Other income (impact fees, advertisement, etc.) revenue line was provided by PRHTA management
(5) All operational expenses were based on operational budget 2016
(6) All Construction expenses are PRHTA management estimates
(7) Clawback values are taken to be equal to the amount of revenues coming from Gasoline taxes, Diesel taxes,
      Petroleum Products taxes, Cigarette taxes and Vehicle License Fees
(8) Debt Service information was provided by PRHTA management
(9) Reflects estimated amounts to maintain necessary operating expenses before debt service




                                                                                                                       55
         Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19   Desc:
                                  Exhibit B Page 57 of 58




XI. APPENDIX: Additional information




                                                                                         56
                       Case:17-03283-LTS Doc#:240-2 Filed:05/31/17 Entered:05/31/17 17:37:19                                                Desc:
PR-18 Value Engineering Example                 Exhibit B Page 58 of 58



Express Lanes Project - Las Américas Expressway (PR-18)

 Original Proposal: Construction of a 950 meter bridge                                                                                                 Estimated cost: $30.9M




New Proposal: Construction levelled with current lanes                                                                                                Estimated Cost: $15.9M




                                                  Source: “Infraestructura Vial de Puerto Rico: Retos y Soluciones” Presentation by Eng. Carlos Contreras                  57
